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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

- -----------------------------------------x
UNITED STATES OF AMERICA,

                        Plaintiff,

            v.
                                                              2:17-cv-2662
                                                  Civil No.
PAULSBORO REFINING COMPANY LLC,

                      Defendant.
- -----------------------------------------x




                                CONSENT DECREE
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         Whereas, Plaintiff United States of America, on behalf ofthe United States
 Environmental Protection Agency("EPA"), has filed a Complaint in this action concurrently
 with this Consent Decree, alleging that Defendant, Paulsboro Refining Company LLC
("Defendant" or "Paulsboro"), violated Section 113 ofthe Clean Air Act("Act" or "CAA"),
 42 U.S.C. § 7413,the regulations promulgated thereto, and Paulsboro's CAA Title V Operating
 Permit ID BOP150003 ("Title V Permit") at the petroleum refinery facility ("Facility") that
 Paulsboro owns and operates in Paulsboro, New Jersey.

         Whereas, the Complaint against Defendant alleges that Paulsboro violated the CAA,
 implementing regulations promulgated under the Act, and its Title V Permit, with respect to
 Paulsboro's operation ofthree steam-assisted flares located at the Facility, known as the North
 Flare, the New South Flare and the Old South Flare. The Complaint alleges that Paulsboro
 operated these steam-assisted flares with excessive amounts of steam, causing reduced
 combustion efficiency and corresponding excess emissions of hazardous air pollutants(HAP)
 and volatile organic compounds(VOC),in violation of its Title V Permit, and of40 C.F.R.
 §§ 60.11(d), 63.6(e), and 60.18(d).

         Whereas, on December 1, 2015, EPA promulgated revisions to regulations that are
 applicable to petroleum refineries, including the regulations at 40 C.F.R. Part 63, Subpart CC.
 These revised regulations promulgated at 40 C.F.R. Part 63, Subpart CC include new
 requirements for refinery flares, including the three steam-assisted flares owned and operated by
 Paulsboro. The compliance date for these new flaring requirements is January 30, 2019. The
 general propose ofthis Consent Decree is to require Paulsboro to achieve early compliance by
 certain existing flares at the Facility with the new Subpart CC flare requirements, to mitigate the
 excess flare emissions caused by over-steaming, and the payment of a civil penalty to resolve
 EPA's allegations concerning Paulsboro's past over-steaming violations.

         Whereas, Defendant does not admit any liability to the United States, nor any issue offact
 or law except as provided in Section I of this Consent Decree, arising out ofthe occurrences alleged
 in the Complaint.

         Whereas, the Parties recognize, and the Court by entering this Consent Decree finds, that
 this Consent Decree has been negotiated by the Parties in good faith, will avoid litigation
 between the Parties, and is fair, reasonable, and in the public interest.

      NOW,THEREFORE, with the consent ofthe Parties, IT IS HEREBY ADJUDGED,.
 ORDERED,AND DECREED as follows:

                               I.      JURISDICTION AND VENUE

        1.      This Court has jurisdiction over the subject matter ofthis action, pursuant to
 28 U.S.C. §§ 1331, 1345, and 1355, and Section 113(b) ofthe Act, 42 U.S.C. § 7413(b), and
 over the Parties. Venue lies in this District pursuant to Section 113(b)ofthe Act,42 U.S.C.
 § 7413(b), and 28 U.S.C. §§ 1391(c) and 1395(a), because the violations alleged in the
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Complaint occurred in, and Defendant conducts business in, this judicial district. For purposes
ofthis Decree, or any action to enforce this Decree, Defendant consents to the Court's
jurisdiction over this Decree and over Defendant, and consents to venue in this judicial district.

       2.     For purposes of this Consent Decree, Defendant agrees that the Complaint states
claims upon which relief maybe granted pursuant to Section 113 ofthe Act,42 U.S.C. § 7413.

                                     II.      APPLICABILITY

        3.     The obligations ofthis Consent Decree apply to and are binding upon the United
States, and upon Defendant and any successors, assigns, or other entities or persons otherwise
bound by law.

        4.      No transfer of ownership or operation of the Facility, whether in compliance with
the procedures ofthis Paragraph or otherwise, shall relieve Defendant of its obligation to ensure
that the terms ofthe Decree are implemented. At least 30 Days prior to such transfer, Defendant
shall provide a copy ofthis Consent Decree to the proposed transferee and shall simultaneously
provide written notice ofthe prospective transfer, together with a copy ofthe proposed written
agreement, to EPA Region 2, the United States Attorney for the District of New Jersey, and the
United States Department of Justice, in accordance with Section XIII ofthis Decree (Notices).
Any attempt to transfer ownership or operation ofthe Facility without complying with this
Paragraph constitutes a violation ofthis Decree.

        5.      Defendant shall provide a copy ofthis Consent Decree to all officers, employees,
and agents whose duties might reasonably include compliance with any provision ofthis Decree,
as well as to any contractor retained to perform work required under this Consent Decree.
Defendant shall condition any such contract upon performance ofthe work in conformity with
the terms ofthis Consent Decree.

       6.      In any action to enforce this Consent Decree, Defendant shall not raise as a
defense the failure by any of its officers, directors, employees, agents, or contractors to take any
actions necessary to comply with the provisions ofthis Consent Decree.

                                       III.   DEFINITIONS

       7.      Terms used in this Consent Decree that are defined in the Act or in regulations
promulgated pursuant to the Act shall have the meanings assigned to them in the Act or such
regulations, unless otherwise provided in this Decree. Whenever the terms set forth below are
used in this Consent Decree, the following definitions shall apply:


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        "Complaint" shall mean the complaint filed by the United States in this action;

       "Consent Decree" or "Decree" shall mean this Decree;

       "Day" shall mean a calendar day unless expressly stated to be a business day. In
       computing any period oftime under this Consent Decree, where the last day would fall on
       a Saturday, Sunday, or federal holiday, the period shall run until the close of business of
       the next business day;

       "Defendant" shall mean Paulsboro Refining Company LLC;

       "EPA" shall mean the United States Environmental Protection Agency and any of its
       successor departments or agencies;

       "Effective Date" shall have the definition provided in Section XIV.

       "Facility" shall mean Defendant's petroleum refinery, which includes three steam-
       assisted flares; designated as the North Flare, the New South Flare, and the Old South
       Flare, located in Paulsboro, New Jersey.

       "Paragraph" shall mean a portion of this Decree identified by an Arabic numeral;

       "Parties" shall mean the United States and Defendant;

        "Section" shall mean a portion ofthis Decree identified by a roman numeral;

        "United States" shall mean the United States of America, acting on behalf ofEPA;

                                    N.      CIVIL PENALTY

        8.      Within 30 Days after the Effective Date, Defendant shall pay the sum of$180,000
as a civil penalty in accordance with the terms ofthis Section IV. If any portion ofthe Civil
Penalty is not paid when due, Defendant shall pay interest on the amount past due accruing from
the Effective Date through date of payment, at the rate specified in 28 U.S.C. § 1961.

         9.     Defendant shall pay the civil penalty due by FedWire Electronic. Funds Transfer
("EFT")to the U.S. Department of Justice account, in accordance with instructions provided to
 Defendant by the Financial Litigation Unit("FLU")ofthe United States Attorney's Office for the
 District of New Jersey after the Effective Date. The payment instructions provided by the FLU

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 will include a Consolidated Debt Collection System("CDCS")number, which Defendant shall
 use to identify all payments required to be made in accordance with this Consent Decree. The
 FLU will provide the payment instructions to the following person on behalf of defendant:

        Robert Muche
        Environmental Manager
        Paulsboro Refining Company LLC
        800 Billingsport Road
        Paulsboro, NJ 08066
       (856)224-6607
        Robert.Muche@pbfenergy.com

 Defendant may change the individual to receive payment instructions on its behalf by providing
 written notice of such change to the United States and EPA in accordance with Section XIII
(Notices).

        At the time of payment, Defendant shall send notice that payment has been made:(i) to
EPA via email at cinwd acctsreceivable@epa.gov or via regular mail at EPA Cincinnati Finance
Office, 26 W. Martin Luther King Drive, Cincinnati, Ohio 45268;(ii) to the United States via
email or regular mail in accordance with Section XIII; and (iii) to EPA in accordance with
Section XIII. Such notice shall state that the payment is for the civil penalty owed pursuant to
the Consent Decree in United States of America v. Paulsboro Refining Company LLC and shall
reference the civil action number, CDCS Number and DOJ case number 90-5-2-1-10408.

        10.     Defendant shall not deduct any penalties paid under this Decree pursuant to this
 Section or Section VII of this Decree (Stipulated Penalties) in calculating its federal income tax.

                            V.      COMPLIANCE REQUIREMENTS

         11.     Compliance with flaringrequirements. Paulsboro operates three steam-assisted
 flare systems located at the Facility, known as the North Flare, the New South Flare and the Old
 South Flare (collectively, the "Existing Flares"). By no later than the applicable compliance date
 specified in this Paragraph 11, Paulsboro shall comply with each applicable requirement for flare
 control devices set forth in §§ 63.670 and 63.671 of the "National Emission Standards for
 Hazardous Air Pollutants From Petroleum Refineries," 40 C.F.R. Part 63, Subpart CC,§ 63.640
 et sec.(the "Refinery MACT"):

                a. For the New South Flare and the Old South Flare, compliance by no later
                than July 30, 2018;
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                b. For the North Flare, compliance by no later than January 30, 2019.

 Within 14 Days ofthe compliance dates specified in this Paragraph 11, Paulsboro shall submit to
 EPA a Certification of Compliance in accordance with Section XIII ofthis Consent Decree
(Notices). Each Certification of Compliance shall reference the applicable requirements set forth
 in this Paragraph, shall affirm that Paulsboro is in full compliance with such requirements, and
 shall indicate the specific dates)on which Paulsboro achieved full compliance. Each
 Certification of Compliance.shall include the certification in Paragraph 17 of this Consent
 Decree.

 Subsequent to the January 30,2019 effective date of Sections 63.670 and 63.671 ofthe Refinery
 MACT,Paulsboro's compliance with the requirements of Sections 63.670 and 63.671 shall be
 governed by implementation ofthe regulations rather than pursuant to this Consent Decree,
 except that Paulsboro's compliance with the following provisions, to the extent applicable, shall
 remain subject to the requirements ofthis Consent Decree until termination pursuant to Section
 XVII: 40 C.F.R. §§ 63.670(e)(combustion zone operating limits), 63.670(1)(flare vent gas,
 steam assist and air assist flow rate monitoring), 63.670(j)(flare vent gas composition
 monitoring), 63.670(1)(calculation methods for determining flare vent gas net heating value),
 and 63.670(m)(calculation methods for determining combustion zone net heating value),
 interpreted consistent with the provision at 40 C.F.R. § 63.671(a)(4).

         12.    Compliance schedule and interim milestones for New South Flare and Old South
 Flare,projects. Paulsboro shall complete the following interim project milestones for the New
 South Flare and Old South Flare projects in accordance with the following schedule:

                a. By no later than June 30, 2017,Paulsboro shall place the orders for the BTU
                Analyzers. "BTU Analyzer" refers to a device that measures the gross caloric
                heating value/content of a gas measured and reported as British Thermal Units
               (BTU)based on net heating value;

               b. By no later than September 30,2017,Paulsboro shall complete the Project
               Definition phase of the Project Schedule, including Process Flow Diagrams,
               Piping and Instrumentation Diagrams, plot plans, and electrical single line
               diagrams. "Project Schedule" refers to the overall project timeline from inception
               ofconceptual design to startup and shakedown of new or modified process
               equipment. The Project Schedule is segmented into phases including, but not
               limited to, initial project concept description, detailed design,funding approval,
               long lead materials procurement, field execution, and startup/commissioning.
               "Project Definition Phase" refers to the phase of a project where the project scope
               is developed and project related technology is selected in sufficient detail to

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               produce detailed drawings, such as Piping and Instrumentation Diagrams, and
               which allow for more refined cost estimation appropriate to capital funding
               approval. "Process Flow Diagram" refers to a simplified schematic or other visual
               representation of a process stream intended to illustrate the general operational
               elements and flow components and flow directions for a specific process. "Piping
               and Instrumentation Diagram" refers to a schematic or drawing that identifies the
               location, type and configuration within the relevant process unit or area of piping,
               valves, check valves, control valves, heat exchangers and control instrumentation.

               c. By no later than December 31, 2017,Paulsboro shall procure the primary
               control components for the steam and gas systems;

               d. By no later than May 15, 2018,Paulsboro shall complete the mechanical
               installation ofthe BTU measurement control systems; and

               e. By no later than July 30, 2018,Paulsboro shall commence operation ofthe
               New South Flare and the Old South Flare in compliance with the applicable
               Refinery MACT flaring requirements cited in Paragraph 11 ofthis Consent
               Decree.

        13.     Permits. Where any compliance obligation under this Section requires Defendant
to obtain a federal, state, or local permit.or approval, Defendant shall submit timely and complete
applications and take all other actions necessary to obtain all such permits or approvals.
Defendant may seek relief under the provisions of Section VIII(Force Majeure)for any delay in
the performance of any such obligation resulting from a failure to obtain, or a delay in obtaining,
any permit or approval required to fulfill such obligation, if Defendant has submitted timely and
complete applications and has taken all other actions necessary to obtain all such permits or
approvals.

                            VI.     REPORTING REQUIREMENTS

       14.     Semi-Annual Report:

              a.     By July 31St and January 31St of each year after the lodging ofthis Consent
      Decree, until termination ofthis Decree pursuant to Section XVII, Defendant shall submit
      to EPA,by emaiUpdf, asemi-annual report for the preceding six (6) month period of
       January 1 through June 30, or July 1 through December 31, respectively. Beginning with
      Paulsboro's submission ofthe first Periodic Report under 40 C.F.R. §§ 63.655(e)(2) and
      (g)(11) ofthe Refinery MACT,Defendant may satisfy the semi-annual reporting
       requirements in this Paragraph by incorporating into such Periodic Reports any additional

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       information required under this Paragraph.

               b.      Each semi-annual report shall include the status of any construction or
       compliance measures; completion of milestones; problems encountered or anticipated,
       together with implemented or proposed solutions; status of permit applications; operation
       and maintenance; and reports to state agencies. The semi-annual report shall also include
       a description of any non-compliance with the requirements ofthis Consent Decree and an
       explanation ofthe violation's likely cause and ofthe remedial steps taken, or to be taken,
       to prevent or minimize such violation.

               c.      If Defendant violates, or determines that it will violate, any requirement of
       this Consent Decree, Defendant shall notify the United States of such violation and its
       likely duration, in writing, within ten(10) working Days ofthe Day Defendant first
       becomes aware of the violation, with an explanation ofthe violation's likely cause and of
       the remedial steps taken, or to be taken, to prevent or minimize such violation. Ifthe
       cause of a violation cannot be fully explained at the time the report is due, Defendant
       shall so state in the report. Defendant shall investigate the cause ofthe violation and shall
       then submit an amendment to the report, including a full explanation ofthe cause ofthe
       violation, within 30 Days ofthe Day Defendant becomes aware ofthe cause ofthe
       violation. Nothing in this Paragraph or the following Paragraph relieves Defendant of its
       obligation to provide the notice required by Section VIII.(Force Majeure).

        15.     Whenever any violation ofthis Consent Decree or any other event affecting
Defendant's   performance   under this Decree, or the performance of its Facility, may pose an
immediate threat to the public health or welfare or the environment, Defendant shall notify EPA
orally or by electronic or facsimile transmission as soon as possible, but no later than 24 hours
after Defendant first knew ofthe violation or event. This procedure is in addition to the
requirements set forth in the preceding Paragraph.

       16.     All reports shall be submitted to the persons designated in Section XIII(Notices).

         17.    Each report submitted by Defendant under this Section shall be signed by an
official ofthe submitting party and include the following certification:

       I certify under penalty oflaw that this document and all attachments were prepared under
       my direction or supervision in accordance with a system designed to assure that qualified
       personnel properly gather and evaluate the information submitted. Based on my inquiry
       ofthe person or persons who manage the system, or those persons directly responsible for
       gathering the information, the information submitted is, to the best of my knowledge and
       belief, true, accurate, and complete. I have no personal knowledge that the information

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       submitted is other than true, accurate, and complete. I am aware that there are significant
       penalties for submitting false information, including the possibility of fine and
       imprisonment for knowing violations.

       18.   This certification requirement does not apply to emergency or similar notifications
where compliance would be impractical.

        19.      The reporting requirements ofthis Consent Decree do not relieve Defendant of
any reporting obligations required by the Act or implementing regulations, or by any other
federal, state, or local law, regulation, permit, or other requirement.

       20.     Any information provided pursuant to this Consent.Decree may be used by the
United States in any proceeding to enforce the provisions ofthis Consent Decree and as
otherwise permitted by law.

                               VII.    STIPULATED PENALTIES

       21.      Defendant shall be liable for stipulated penalties to the United States for
violations of this Consent Decree as specified below, unless excused under Section VIII(Force
Majeure). A violation includes failing to perform any obligation required by the terms of this
Decree, including any work plan or schedule approved under this Decree, according to all
applicable requirements ofthis Decree and within the specified time schedules established by or
approved under this Decree.

        22.     Late Payment of Civil Penalty. If Defendant fails to pay the civil penalty, plus
interest, required to be paid under Section IV (Civil Penalty) when due, Defendant shall pay a
stipulated penalty of$5,000 per Day for each Day that the payment is late.

        23.     Compliance with Refinery MACT flare requirements. The following stipulated
penalties shall accrue per violation per Day for each violation of a requirement ofParagraph 11
ofthis Consent Decree. For the purpose of calculating stipulated penalties under this Paragraph
23, after the compliance dates) specified in Paragraph 11 ofthis Consent Decree, each
subsequent Day of violation ofthe requirement to achieve compliance with any Refinery MACT
requirement in Paragraph 11 shall be aggregated on a per flare basis:

       Penalty Per Violation Per Day                     Period of Noncompliance

                   $1,500.....................................1st through 14th Day



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                     $2,750 ............................................... 15th through 30th Day
                     $4,250.................................................31st Day and beyond


       24.     Reporting Requirements. The following stipulated penalties shall accrue per
violation per Day for each violation ofthe reporting requirements of Section VI of this Consent
Decree ox the requirement in Paragraph 11 to submit a Certification of Compliance:

        Penalty Per Violation Per Day                                Period ofNoncompliance
                    $500...................................................1st through 14th day
                   $1,000................................................15th through 30th day
                   $1,500.................................................31st day and beyond

       25.      Stipulated penalties under this Section shall begin to accrue on the Day after
performance is due or on the Day a violation occurs, whichever is applicable, and shall continue
to accrue until performance is satisfactorily completed or until the violation ceases. Stipulated
penalties shall accrue simultaneously for separate violations ofthis Consent Decree.

         26.     Defendant shall pay any stipulated penalty within 30 Days of receiving the United
 States' written demand.

        27.     The United States may,in the unreviewable exercise of its discretion, reduce or
 waive stipulated penalties otherwise due it under this Consent Decree.

        28.    Stipulated penalties shall continue to accrue as provided in Paragraph 25, during
 any Dispute Resolution, but need not be paid until the following:

               a.      If the dispute is resolved by agreement or by a decision ofEPA that is not
        appealed to the Court, Defendant shall pay accrued penalties determined to be owing,
        together with interest, to the United States within 30 Days of the effective date ofthe
        agreement or the receipt of EPA's decision or order.

               b.      If the dispute is appealed to the Court and the United States prevails in
        whole or in part, Defendant shall pay all accrued penalties determined by the Court to be
        owing,together with interest, within 60 Days ofreceiving the Court's decision or order,
        except as provided in subparagraph c, below.

               c.      If any Party appeals the District Court's decision, Defendant shall pay all
        accrued penalties determined to be owing,together with interest, within 15 Days of
        receiving the final appellate court decision.


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         29.     Defendant shall pay stipulated penalties owing to the United States in the manner
set forth and with the confirmation notices required by Paragraph 9, except that the transmittal
letter shall state that the payment is for stipulated penalties and shall state for which violations)
the penalties are being paid.

       30.     If Defendant fails to pay stipulated penalties according to the terms ofthis
Consent Decree, Defendant shall be liable for interest on such penalties, as provided for in
28 U.S.C. § 1961, accruing as ofthe date payment became due. Nothing in this Paragraph shall
be construed to limit the United States from seeking any remedy otherwise provided by law for
Defendant's failure to pay any stipulated penalties.

      31.     The payment of penalties and interest, if any, shall not alter in any way
Defendant's obligation to complete the performance ofthe requirements ofthis Consent Decree.

         32.     Non-Exclusivity of Remedy. Stipulated penalties are not the United States'
 exclusive remedy for violations ofthis Consent Decree. Subject to the provisions of Section XI
(Effect of Settlement/Reservation of Rights).,the United States expressly reserves the right to
 seek any other relief it deems appropriate for Defendant's violation ofthis Decree or applicable
 law,including but not limited to an action against Defendant for statutory penalties, additional
 injunctive relief, mitigation or offset measures, andlor contempt. However,the amount of any
 statutory penalty assessed for a violation ofthis Consent Decree shall be reduced by an amount
 equal to the amount of any stipulated penalty assessed and paid pursuant to this Consent Decree.

                                     VIII.   FORCE MAJEURE

         33.    "Force majeure," for purposes ofthis Consent Decree, is defined as any event
 arising from causes beyond the control of Defendant, of any entity controlled by Defendant, or of
 Defendant's contractors, that delays or prevents the performance of any obligation under this
 Consent Decree despite Defendant's best efforts to fulfill the obligation. The requirement that
 Defendant exercise "best efforts to fulfill the obligation" includes using best efforts to anticipate
 any potential force majeure event and best efforts to address the effects'of any potential force
 majeure event(a) as it is occurring and (b)following the potential force majeure, such that the
 delay and any adverse effects ofthe delay are minimized. "Force Majeure" does not include
 Defendant's financial inability to perform any obligation under this Consent Decree.

         34.    If any event occurs or has occurred that may delay the performance of any
 obligation under this Consent Decree, whether or not caused by a force majeure event, Defendant
 shall provide notice orally or by electronic or facsinnile transmission fo EPA, within 72 hours of
 when Defendant first knew that the event might cause a delay. Within seven(7)days thereafter,
 Defendant shall provide in writing to EPA an explanation and description ofthe reasons for the

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delay; the anticipated duration ofthe delay; all actions taken or to be taken to prevent or
minimize the delay; a schedule for implementation of any measures to be taken to prevent or
mitigate the delay or the effect ofthe delay; Defendant's rationale for attributing such delay to a
force majeure event if it intends to assert such a claim; and a statement as to whether, in the
opinion of Defendant, such event may cause or contribute to an endangerment to public health,
welfare or the environment. Defendant shall include with any notice all available documentation
supporting the claim that the delay was attributable to a force majeure. Failure to comply with
the above requirements shall preclude Defendant from asserting any claim offorce majeure for
that event for the period oftime of such failure to comply, and for any additional delay caused by
such failure. Defendant shall be deemed to know of any circumstance of which Defendant, any
entity controlled by Defendant, or Defendant's contractors knew or should have known.

         35.    If EPA agrees that the delay or anticipated delay is attributable to a force majeure
 event, the time for performance ofthe obligations under this Consent Decree that are affected by
 the force majeure event will be extended by EPA for such time as is necessary to complete those
 obligations. An extension ofthe time for performance ofthe obligations affected by the force
 majeure event shall not, of itself, extend the time for performance of any other obligation. EPA
 will notify Defendant in writing ofthe length ofthe extension, if any, for performance ofthe
 obligations affected by the force majeure event.

        36.     If EPA does not agree that the delay or anticipated delay has been or will be
 caused by a force majeure event, EPA will notify Defendant in writing of its decision.

         37.     If Defendant elects to invoke the dispute resolution procedures set forth in
 Section IX (Dispute Resolution), it shall do so no later than 15 Days after receipt of EPA's
 notice. In any such proceeding, Defendant shall have the burden of demonstrating by a
 preponderance ofthe evidence that the delay or anticipated delay has been or will be caused by a
 force majeure event, that the duration ofthe delay or the extension sought was or will be
 warranted under the circumstances; that best efforts were exercised to avoid and mitigate the
 effects ofthe delay, and that Defendant complied with the requirements of Paragraphs 33 and 34
 ofthis Consent Decree. If Defendant carries this burden, the delay at issue shall be deemed not
 to be a violation by Defendant of the affected obligation ofthis Consent Decree identified to
 EPA and the Court:

                                 IX.     DISPUTE RESOLUTION

        38.     Unless otherwise expressly provided for in this Consent Decree, the dispute
 resolution procedures of this Section shall be the exclusive mechanism to resolve disputes arising
 under or with respect to this Consent Decree. Defendant's failure to seek resolution of a dispute


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under this Section shall preclude Defendant from raising any such issue as a defense to an action
by the United States to enforce any obligation of Defendant arising under this Decree.

        39.    Informal Dispute Resolution. Any dispute subject to Dispute Resolution under
this Consent Decree shall first be the subject ofinformal negotiations. The dispute shall be
considered to have arisen when Defendant sends the United States a written Notice of Dispute.
Such Notice of Dispute shall state clearly the matter in dispute. The period ofinformal
negotiations shall not exceed 20 Days from the date the dispute arises, unless.that period is
modified by written agreement. If the Parties cannot resolve a dispute by informal negotiations,
then the position advanced by the United States shall be considered binding unless, within 20
Days after the conclusion ofthe informal negotiation period, Defendant invokes formal dispute
resolution procedures as set forth below.

        40.     Formal Dispute Resolution. Defendant shall invoke formal dispute resolution
procedures, within the time period provided in the preceding Paragraph, by serving on the United.
States a written Statement of Position regarding the matter in dispute. The Statement of Position
shall include, but need not be limited to, any factual data, analysis, or opinion supporting
Defendant's position and any supporting documentation relied upon by Defendant.

       41.      The United States shall serve its Statement of Position within 45 Days ofreceipt
of Defendant's Statement of Position. The United States' Statement of Position shall include,
but need not be limited to, any factual data, analysis, or opinion supporting that position and any
supporting documentation relied upon by the United States. The United States' Statement of
Position shall be binding on Defendant, unless Defendant files a motion for judicial review ofthe
dispute in accordance with the following Paragraph.

        42.     Defendant may seek judicial review ofthe dispute by filing with the Court and
serving on the United States, in accordance with Section XIII(Notices), a motion requesting
judicial resolution ofthe dispute. The motion must be filed within thirty(30)Days of receipt of
the United States' Statement ofPosition pursuant to the preceding Paragraph. The motion shall
contain a written statement of Defendant's position on the matter in dispute, including any
supporting factual data, analysis, opinion, or documentation, and shall set forth the relief
requested and any schedule within which the dispute must be resolved for orderly
implementation ofthe Consent Decree.

       43.     The United States shall respond to Defendant's motion within the time period
allowed by the Local Rules ofthis Court. Defendant may file a reply memorandum,to the extent
permitted by the Local Rules.




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        44.     Standard of Review

                a.      Disputes Concerning Matters Accorded Record Review. Except as
        otherwise provided in this Consent Decree, in any dispute pertaining to the adequacy of
        the compliance actions undertaken pursuant to Section V ofthis Consent Decree, and all
        other disputes that are accorded review on the administrative record under applicable
        principles of administrative law, Defendant shall have the burden of demonstrating, based
        on the administrative record, that the position ofthe United States is arbitrary and
        capricious or otherwise not in accordance with law.

               b.      Other Disputes. Except as otherwise provided in this Consent Decree, in
        any other dispute brought under Paragraph 42 Defendant shall beaz the burden of
        demonstrating that its position complies with this Consent Decree

          45.     The invocation of dispute resolution procedures under this Section shall not, by
 itself, extend, postpone, or affect in any way any obligation of Defendant under this Consent
 Decree, unless and until final resolution ofthe dispute so provides. Stipulated penalties with
 respect to the disputed matter shall continue to accrue from the first Day of noncompliance, but
 payment shall be stayed pending resolution of the dispute as provided in Paragraph 28. If
 Defendant does not prevail on the disputed issue, stipulated penalties shall be assessed and paid
 as provided in Section VII (Stipulated Penalties).

                      X.     INFORMATION COLLECTION AND RETENTION

        46.      The United States and its representatives, including attorneys, contractors, and
 consultants, shall have the right of entry into any facility covered by this Consent Decree, at all
 reasonable times, upon presentation of credentials, to:

                a.         monitor the progress of activities required under this Consent Decree;

                b.     verify any data or information submitted to the United States in
         accordance with the terms ofthis Consent Decree;

                c.         obtain documentary evidence, including photographs and similar data; and

                d..        assess Defendant's compliance with this Consent Decree.

         47.     Until three(3) years after the termination of this Consent Decree, Defendant shall
 retain, and shall instruct its contractors and agents to preserve, all non-identical copies of all
 documents, records, or other information (including documents, records, or other information in
 electronic form)in its or its contractors' or agents' possession or control, or that come into its or
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 its contractors' or agents' possession or control, and that relate in any manner to Defendant's
 performance of its obligations under this Consent Decree. This information-retention
 requirement shall apply regardless of any contrary corporate or institutional policies or
 procedures. At any time during this information-retention period, upon request by the United
 States, Defendant shall provide copies of any documents, records, or other information required
 to be maintained under this Paragraph.

         48.     At the conclusion ofthe information-retention period provided in the preceding
 Paragraph, Defendant shall notify the United States at least 90 Days prior to the destruction of
 any documents, records, or other information subject to the requirements of the preceding
 Paragraph and, upon request by the United States, Defendant shall deliver any such documents,
 records, or other information to EPA. Defendant may assert that certain documents, records, or
 other information is privileged under the attorney-client privilege or any other privilege
 recognized by federal law. If Defendant asserts such a privilege, it shall provide the following:
(a)the title ofthe document,record, or information;(b)the date ofthe document, record, or
 information;(c)the name and title of each author ofthe document, record, or information;(d)the
 name and title of each addressee and recipient;(e)a description ofthe subject ofthe document,
 record, or information; and (fl the privilege asserted by Defendant. However, no documents,
 records, or other information created or generated pursuant to the requirements ofthis Consent
 Decree shall be withheld on grounds of privilege.

         49.     Defendant may also assert that information required to be provided under this
 Section is protected as Confidential Business Information("CBT")under 40 C.F.R. Part 2. As to
 any information that Defendant seeks to protect as CBI, Defendant shall follow the procedures
 set forth in 40 C.F.R. Part 2.

         50.     This Consent Decree in no way limits or affects any right of entry and inspection,
 or any right to obtain information, held by the United States pursuant to applicable federal laws,
 regulations, or permits, nor does it limit or affect any duty or obligation of Defendant to maintain
 documents, records, or other information imposed by applicable federal or state laws, regulations,
 or permits.

                XI.    EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

        51.     This Consent Decree resolves the civil claims ofthe United States for the
 violations alleged in the Complaint filed in this action through the date oflodging.

         52.    -The United States reserves all legal and equitable remedies available to enforce
 the provisions ofthis Consent Decree. This Consent Decree shall not be construed to limit the
 rights ofthe United States to obtain penalties or injunctive relief under the Act or implementing

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regulations, or under other federal laws, regulations, or permit conditions. The United States
further reserves all legal and equitable remedies to address any imminent and substantial
endangerment to the public health or welfare or the environment arising at, or posed by,
Defendant's Facility, whether related to the violations addressed in this Consent Decree or
otherwise.

        53.     In any subsequent administrative or judicial proceeding initiated by the United
States for injunctive relief, civil penalties, other appropriate relief relating to the Facility or
Defendant's violations, Defendant shall not assert, and may not maintain, any defense or claim
based upon the principles of waiver, res judicata, collateral estoppel, issue preclusion, claim
preclusion, claim-splitting, or other defenses based upon any contention that the claims raised by
the United States in the subsequent proceeding were or should have been brought in the instant
case, except with respect to claims that have been specifically resolved pursuant to Paragraph 51.

        54.      This Consent Decree is not a permit, or a modification of any permit, under any
federal, State, or local laws or regulations. Defendant is responsible for achieving and
maintaining complete compliance with all applicable federal, State, and local laws, regulations,
and permits; and Defendant's compliance with this Consent Decree shall be no defense to any
action commenced pursuant to any such laws, regulations, or permits, except as set forth herein.
The United States does not, by its consent to the entry ofthis Consent Decree, warrant or aver in
any manner that Defendant's compliance with any aspect ofthis Consent Decree will result in
compliance with provisions ofthe Act, 42 U.S.C. § 7401, et sec,., or with any other provisions of
federal, State, or local laws, regulations, or permits.

        55.     This Consent Decree does not limit or affect the rights of Defendant or ofthe
United States against any third parties, not party to this Consent Decree, nor does it limit the
rights ofthird parties, not party to this Consent Decree, against Defendant, except as otherwise
provided by law.

        56.     This Consent Decree shall not be construed to create rights in, or grant any cause
of action to, any third party not party to this Consent Decree.

                                          XII.    COSTS

       57.      The Parties shall bear their own costs ofthis action, including attorneys' fees,
except that the United States shall be entitled to collect the costs (including attorneys' fees)
incurred in any action necessary to collect any portion ofthe civil penalty or any stipulated
penalties due but not paid by Defendant.



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                                          XIII. NOTICES

       58.     Unless otherwise specified in this Decree, whenever notifications, submissions, or
communications are required by this Consent Decree, they shall be made in writing and
addressed as follows:

       As to the United States by email:     eescdcopy.enrd@usdoj.gov
                                             Re: DJ # 90-5-2-1-10408

       As to the United States by mail:      EES Case Management Unit
                                             Environment and Natural Resources Division
                                             U.S. Department of Justice
                                             P:O. Box 7611
                                             Washington, D.C. 20044-7611
                                             Re: DJ # 90-5-2-1-10408

       As to EPA by email:                   ihlenburg.erick@epa.gov

       As to EPA:'                           Chief, Air Branch
                                             Office of Regional Counsel
                                             U.S. Environmental Protection Agency
                                             Region 2
                                             290 Broadway
                                             New York, NY 10007



                                             Chief, Air Compliance Branch
                                             Division of Enforcement and Compliance
                                             Assistance
                                             U.S. Environmental Protection Agency
                                             Region 2
                                             290 Broadway
                                             New York, NY 10007




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        As to Defendant:                       Steven Krynski
                                               Refinery Manager
                                               Paulsboro Refining Company LLC
                                               800 Billingsport Road
                                               Paulsboro, NJ 08066
                                               Steve.Krynski@pbfenergy.com

                                               Arthur G. Warden III
                                               Deputy General Counsel
                                               PBF Energy
                                               1 Sylvan Way, Second Floor
                                               Parsippany, NJ 07054
                                               Art.Warden@pbfenergy.com

                                               Bart E. Cassidy
                                               Manlco, Gold, Katcher, &Fox,LLP
                                               401 City Avenue, Suite 901
                                               Bala Cynwyd,PA 19004
                                               bcassidy@mankogold.com

        59.      Any Party may, by written notice to the other Parties, change its designated notice
 recipient or notice address provided above.

         60.    Notices submitted pursuant to this Section shall be deemed submitted upon
 mailing, unless otherwise provided in this Consent Decree or by mutual agreement ofthe Parties
 in writing.

                                    XIV. EFFECTIVE DATE

       61.     The Effective Date of this Consent Decree shall be the date upon which this
 Consent Decree is entered by the Court or a motion to enter the Consent Decree is granted;
 whichever occurs first, as recorded on the Court's docket.

                                 XV.    RETENTION OF JURISDICTION

        62.     The Court shall retain jurisdiction over this case until termination ofthis Consent
 Decree, for the purpose ofresolving disputes arising under this Decree or entering orders
 modifying this Decree, pursuant to Sections IX and XVI, or effectuating or enforcing compliance
 with the terms of this Decree.


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                                    XVI. MODIFICATION

      63.       The terms ofthis Consent Decree may be modified only by a subsequent written
agreement signed by all the Parties. Where the modification constitutes a material change to this
Decree, it shall be effective only upon approval by the Court.

         64.      Any disputes concerning modification ofthis Decree shall be resolved pursuant to
Section IX (Dispute Resolution), provided, however, that, instead ofthe burden of proof
provided by Paragraph 44, the Party seeking the modification bears the burden of demonstrating
that it is entitled to the requested modification in accordance with Federal Rule of Civil
Procedure 60(b).

                                     XVII. TERMINATION

        65.    After Defendant has completed the requirements of Section V (Compliance
Requirements), and has thereafter maintained satisfactory compliance with this Consent Decree
for a period of2 years after July 30, 2018, and has paid the civil penalty, interest, and any
accrued stipulated penalties as required by this Consent Decree, Defendant may serve upon the
United States a Request for Termination, stating that Defendant has satisfied those requirements,
together with all necessary supporting documentation.

        66.     Following receipt by the United States of Defendant's Request for Termination,
the Parties shall confer informally concerning the Request and any disagreement that the Parties
may have as to whether Defendant has satisfactorily complied with the requirements for
termination ofthis Consent Decree. If the United States agrees that the Decree maybe
terminated, the Parties shall submit, for the Court's approval, ajoint stipulation terminating the
Decree.

       67.     If the United States does not agree that the Decree may be terminated, Defendant
may invoke Dispute Resolution under Section IX. However, Defendant shall not seek Dispute
Resolution of any dispute regarding termination unti120 Days after service of its Request for
Termination.

                               XVIII. PUBLIC PARTICIPATION

       68.      This Consent Decree shall be lodged with the Court for a period of not less than
30 Days for public notice and comment in accordance with 28 C.F.R. § 50.7. The United States
reserves the right to withdraw or withhold its consent if the comments regarding the Consent
Decree disclose facts or considerations indicating that the Consent Decree is inappropriate,
improper, or inadequate. Defendant consents to entry ofthis Consent Decree without further

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notice and agrees not to withdraw from or oppose entry of this Consent Decree by the Court or to
challenge any provision ofthe Decree, unless the United States has notified Defendant in writing
that it no longer supports entry ofthe Decree.

                                XIX. SIGNATORIES/SERVICE

        69.     Each undersigned representative of Defendant and the Assistant Attorney General
for the Environment and Natural Resources Division of the Department of Justice certifies that
he or she is fully authorized to enter into the terms and conditions ofthis Consent Decree and to
execute and legally bind the Party he or she represents to this document.

         70.     This Consent Decree may be signed in counterparts, and its validity shall not be
 challenged on that basis. Defendant agrees to accept service of process by mail with respect to
 all matters arising under or relating to this Consent Decree and to waive the formal service
 requirements set forth in Rules 4 and 5 ofthe Federal Rules of Civil Procedure and any
 applicable Local Rules ofthis Court including, but not limited to, service of a summons.

                                      XX.    INTEGRATION

        71.     This Consent Decree constitutes the final, complete, and exclusive agreement and
 understanding among the Parties with respect to the settlement embodied in the Decree and
 supersedes all prior agreements and understandings, whether oral or written, concerning the
 settlement embodied herein. The Parties acknowledge that there are no representations,
 agreements, or understandings relating to the settlement other than those expressly contained in
 this Consent Decree.

                                    XXI. FINAL JUDGMENT

        72.     Upon approval and entry ofthis Consent Decree by the Court, this Consent
 Decree shall constitute a final judgment ofthe Court as to the United States and Defendant. The
 Court finds that there is no just reason for delay and therefore enters this judgment as a final
 judgment under Fed. R. Civ. P. 54 and 58.




                                       UNITED STATES DISTRICT JUDGE



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FOR THE UNITED STATES OF AMERICA:



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                             Deputy Chief
                             Environmental Enforcement Section



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FOR THE U.S. ENVIRONMENTAL PROTECTION AGENCY:




                             ERIC SCHAAF
                             Regional Counsel
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                             Of Counsel:

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                             U.S. Environmental Protection Agency, Region 2
                             Office of Regional Counsel




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FOR PAULSBORO REFINING COMPANY LLC:




  ate                         Steven ~Kryns
                              Refinery Manager
                              Paulsboro Refining Company LLC




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